Page 1

Graham Forrester - Curriculum Vitae

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Summary
I am a marine ecologist and conservation biologist with 26 years of research, teaching, and outreach
experience. Recent research includes study of fish ecology on coral reefs, coral restoration, social-
ecological systems, and long-term coral reef declines.

Positions held:
2007 onward _— Professor, Department of Natural Resources Science, Univ. of Rhode Island.

2002-2007 Associate Professor, Department of Natural Resources Science, Univ. of Rhode
Island.

1999-2002 Assistant Professor, Department of Biological Sciences, Univ. of Rhode Island.
1995-1999 Assistant Professor, Department of Biology, University of California Los Angeles.

1993-1995 Postdoctoral Associate, Coastal Toxicology Program and Dept. of Biological
Sciences, Univ. of California Santa Barbara.

Education:
1992 Ph.D Zoology, University of New Hampshire, U. S. A.
1988 M.Sc. Zoology, University of Sydney, Australia.
1985 B.Sc. Zoology (with Honours), University of Wales, United Kingdom.

Peer-reviewed research articles (since 2003):
Finley, R. J. and G. E. Forrester. 2003. Impact of ectoparasites on the demography of a small reef fish.
Marine Ecology progress Series 248:305-309.

Forrester, G. E., B. I. Fredericks, D. Gerdeman, B. Evans, M. A. Steele, K. Zayed, L. Schweitzer, I. H.
Suffet, R. R. Vance, and R. F. Ambrose. 2003. Growth of estuarine fish is associated with the
combined concentration of sediment contaminants and shows no adaptation or acclimation to past
conditions. Marine Environmental Research 56:423-432.
Swearer, S. E., G. E. Forrester, M. A. Steele, A. J. Brooks and D. W. Lea. 2003. Spatio-temporal and
interspecific variation in otolith trace-elemental fingerprints in a temperate estuarine fish
assemblage. Estuarine, Coastal and Shelf Science 56:1111-1123.
Forrester, G. E. and M. A. Steele. 2004. A Shortage of structural refuges from predation causes
density-dependent prey mortality at multiple spatial scales. Ecology 85:1332-1342.
Steele, M. A. and G. E. Forrester. 2005. Small-scale field experiments accurately scale up to predict
density dependence in reef fish populations at large scales. Proceedings of the National Academy
of the USA 102:13513-13516
Forrester, G. E. 2005. A field experiment testing for correspondence between trace elements in otoliths
and in the environment, and for evidence of adaptation to prior habitats. Estuaries 28:974-981.
Forrester, G. E., B. Evans, M. A. Steele and R. R. Vance. 2006. Assessing the magnitude of intra- and
interspecific competition in two coral-reef fishes. Oecologia 148:632-640. oe)
Forrester, G. E. and R. J. Finley. 2006. Parasitism and a shortage of refuges jointly mediate the EXHIBIT
strength of density dependence in a reef fish. Ecology 87:1110-1115.
Tallman, J. C. and G. E. Forrester. Oyster grow-out cages function as artificial reefs for temperate
fishes. Accepted, Transactions of the American Fisheries Society.
Forrester, G. E., M. A. Steele, J. F. Samhouri, R. R. Vance. 2008. Settling larvae of a small coral reeh§_ a
fish discriminate reef features at large, but not small, spatial scales. Limnology & Oceanography
53:1956-62
Forrester, G. E., M. A. Steele, J. F. Samhouri, B. Evans, R. R. Vance. 2008. Spatial density dependence
scales up but does not produce temporal density dependence in a reef fish. Ecology 89:2980-85.
Paddack, M. J., J. D. Reynolds, C. Aguilar, R. S. Appeldoorn, J. Beets, E. W. Burkett, P. M. Chittaro, K.
Clarke, R. Esteves, A. C. Fonseca, G. E. Forrester, A. M. Friedlander, J. Garcia-Sais, G.
Gonzalez-Sanson, L. K. B. Jordan, D. B. McClellan, M. W. Miller, P. P. Molloy, P. J. Mumby, I.
Graham E. Forrester Page 2

Nagelkerken, M. Nemeth, R. Navas-Camacho, J. Pitt, N. V. C. Polunin, M. C. Reyes-Nivia, D.
R. Robertson, A. Rodriguez-Ramirez, E. Salas, S. R. Smith, R. E. Spieler, M. A. Steele, I. D.
Williams, C. L. Wormald, A. R. Watkinson, and I. M. Cote. 2009. Recent Region-wide Declines
in Caribbean Reef Fish Abundance. Current Biology 19:590-595.

Samhouri, J. F., M. A. Steele, and G. E. Forrester. 2009. Inter-cohort competition drives density
dependence and selective mortality in a marine fish. Ecology 90:1009-1020.

Samhouri, J. F., R. R. Vance, G. E. Forrester, and M. A. Steele. 2009. Musical chairs mortality
functions: density-dependent deaths caused by competition for unguarded refuges. Oecologia
160:257-265.

Dalton, T., Pollnac, R., Forrester, G. E. and 8. Smith. 2009. Governance Factors Affecting the

Ecological Performance of Marine Reserves in the Wider Caribbean. Proceedings of the Gulf
and Caribbean Fisheries Institute 62:319-322.

Pollnac, R, P. Christie, J. E. Cinner, T. Dalton, T. Daw, G. E. Forrester, N. A.J. Graham, and T. R.
McClanahan. 2010. Marine reserves as linked social-ecological systems. Proceedings of the
National Academy of the USA 107:18262-18265.

Vance, R.R.; Steele, M.A. and G. E. Forrester. 2010. Using an individual-based model to quantify scale
transition in demographic rate functions: Deaths in a coral reef fish. Ecological Modelling
221:1907-1921.

Dalton, T.D., G. E. Forrester and R. P. Pollnac. 2010. Formal Co-management Arrangements and MPA
Success in the Wider Caribbean. Proceedings of the Gulf and Caribbean Fisheries Institute 63:
289-293.

Forrester, G.E., L. Harmon, J. Helyer, W. Holden and R. Karis. 2011. Experimental evidence for
density-dependent reproductive output in a coral reef fish. Population Ecology 53:155-163.

Forrester, G. E., C. O’Connell-Rodwell, P. Baily, L. Forrester, S. Giovannini, L.Harmon, R. Karis, J.
Krumholz, T. Rodwell, and L. Jarecki. 2011. Evaluating methods for transplanting endangered
Elkhorn corals in the Virgin Islands. Restoration Ecology 19:299-306.

Dalton, T., G. E. Forrester and R. Pollnac. 2012. Participation, Process Quality, and Performance of
Marine Protected Areas in the Wider Caribbean. Environmental Management 49:1224—1237

Forrester, G. E., A. Maynard, S. Schofield and K. Taylor. 2012. Evaluating causes of transplanting
stress in fragments of Acropora palmata used for coral reef restoration. Bulletin of Marine
Science 88:1099-1113.

Forrester, G. E., K. Taylor, 8. Schofield and A. Maynard. 2012. Colony growth of corals transplanted
for restoration depends on their site of origin and environmental factors. Marine Ecology. DOI:
10.111 1/maec. 12000.

Wormald, C.L., M. A. Steele and G. E. Forrester. 2013. High population density enhances recruitment
and survival in a harvested coral reef fish. Ecological Applications 23:365-373.

Forrester, G. E., R. P. Dauksis and M. A. Ferguson. 2013. Should coral fragments collected for
restoration be subdivided to create more, smaller pieces for transplanting? Ecological Restoration
31:4-7.

Forrester, G. E., M. A. Ferguson, C. E. O’Connell-Rodwell and L. L. Jarecki. 2013. Long-term survival
and colony growth of Acropora palmata fragments transplanted by volunteers for restoration.
Aquatic Conservation DOI: 10.1002/aqc.2374.

Merolla. S. A., A. J. Holevoet, S. L. Musser and G. E. Forrester. 2013. Caribbean Damselfish
Recolonize Reefs Following Coral Restoration. Ecological Restoration. 31:353-356.

Major reports and peer-reviewed book chapters (since 2003):

Carr, M. H., M. V. McGinnis and G. E. Forrester. 2003. Consequences of Alternative
Decommissioning Options To Reef Fish Assemblages and Implications for Decommissioning
Policy. Final technical report. U.S. Department of the Interior, Minerals Management Service,
Pacific OCS Region, 94 pages.

Forrester, G. E., and M. A. Steele, 2013. Reef fishes: density dependence and equilibrium in
populations? Pages 1-20 in The Balance of Nature and Human Impact, ed. K. Rohde, publ.
Cambridge University Press.

Forrester, G. E. 2014. Coral Reef: Biology and History. In Encyclopedia of Natural Resources, ed. Y.
Q. Wang, publ. Taylor and Francis.

Graham E. Forrester Page 3

Forrester, G. E. 2014. Coral Reef: Ecology and Conservation. In Encyclopedia of Natural Resources,
ed. Y. Q. Wang, publ. Taylor and Francis.
Forrester, G. E., 2014. Competition. In, Ecology of fishes on coral reefs, ed. C. Mora, publ. University
of Hawaii Press.
Jackson, J. B. C., G. Forrester and 29 others. 2014. Overview and synthesis for the wider Caribbean
region. Pages 18-111 in Status and Trends of Caribbean Coral Reefs: 1970-2012, publ. IUCN
Global Coral Reef Monitoring Network, Washington DC.

External Research Grants (since 2003):

2013

2012-2013

2012-2015

2006-2010

1992-2014

2004-2005

2003-2006

2003-2005
2003-2006

2002-2007

2002-2004

J. A. Woollam Foundation “Comparative analysis of volunteer and professional coral reef
monitoring”, $5,000.

Champlin Foundation, “Scientific Diving as a Tool for Education, Research, and
Outreach”, $120,538 (co-PI with A. Watson and R. Mather).

NOAA Sea Grant, “An interdisciplinary evaluation of the fishery for Cittarium pica”,
$134,030 (co-PI with C. Garcia-Quijano).

National Science Foundation Human and Social Dynamics Competition,
“Understanding linkages among governance factors of linked social and ecological
systems”, $650,000 (co- PI with T. Dalton, R. Pollnac and P. Rubinoff).

The Falconwood Foundation, “Long-term research in coral reef ecology”, $815,000
(mostly in direct support, accommodation, facility and boat use).

NOAA NorthWest Fisheries Science Center IPA award. “Ecosystem fisheries

management and marine protected areas”, $37,108.

NSF Division of Biological Sciences multi-user equipment and instrumentation
resources for Biology program, “A water flume for studies of organismal interactions
in flowing water”, $72,986 (co-PI with C. Wilga and E. Carrington).

RI Sea Grant Aquaculture Initiative, “Habitat Value of Shellfish Aquaculture Gear”,
$100,020 (co-PI R. Rheault).

USDA Rhode Island Agriculture Experiment Station, “Assessing the value of shellfish
aquaculture gear as fish habitat”, $52,000.

NSF Biological Oceanography Program, “A test for shelter limitation of reef fish
populations at large spatial scales: an integrated empirical and theoretical approach”,
(Co-PI M. Steele) $549,167.

NOAA National Undersea Research Program, “Source-sink dynamics, density
dependence, and the efficacy of marine protected areas”, (Co-PI M. Steele) $81,222 &
approx. $110,000 in direct support (accommodation, facility and boat use).

